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                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

IN RE:                        §                            CASE NO. 21-20266
PATEL, AVANINDRAKUMAR SOMBHAI §
PATEL, RANJANBEN A.           §
                              §                            CHAPTER 7
               DEBTORS        §


         APPLICATION FOR TRUSTEE’S COMPENSATION AND EXPENSES

NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN RESPONSE IS
FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AT 205
SOUTHEAST FIFTH AVENUE, ROOM 201D, AMARILLO, TEXAS 79101, BEFORE
CLOSE OF BUSINESS ON NOVEMBER 22, 2023, WHICH IS AT LEAST 21 DAYS FROM
THE DATE OF SERVICE HEREOF.

ANY RESPONSE MUST BE IN WRITING AND FILED WITH THE CLERK, AND A
COPY MUST BE SERVED UPON COUNSEL FOR THE MOVING PARTY PRIOR TO
THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED A HEARING
WILL BE HELD WITH NOTICE ONLY TO THE OBJECTING PARTY.

IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED, THE
RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT
MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR THE NOTICED
ACTION MAY BE TAKEN.

TO THE HONORABLE ROBERT L. JONES
UNITED STATES BANKRUPTCY JUDGE:

       COMES NOW, Kent Ries, chapter 7 trustee for the estate of PATEL,
AVANINDRAKUMAR SOMBHAI & PATEL, RANJANBEN A. and files this Application for
Trustee’s Compensation and Expenses (“Application”) to request compensation and
reimbursement of expenses pursuant to 11 U.S.C. § 330(a)(1) and (a)(7). In support of the
Application, the trustee submits the following information:

       1.      On December 01, 2021, the trustee was duly appointed as the chapter 7 trustee.

       2.      Prior to the filing of the Application, the United States Trustee’s office has filed a
Trustee’s Final Report (“TFR”) and a Notice of Trustee’s Final Report (“NFR”) in this case.

        3.     Pursuant to 11 U.S.C. 326(a), the maximum compensation allowable to the trustee
is $25,005.24 based on the total amount disbursed to parties in interest, except for amounts
disbursed to the debtor, or to any entity, if the funds disbursed were not property of the estate, e.g.
return of a sale deposit. See attached Exhibit 1 for a detailed calculation of the compensation
requested.
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      4.     The trustee has received 0.00 of the maximum compensation allowable as interim
compensation, and now requests $25,005.24 as final compensation, subject to additional
compensation based on the disbursement of additional interest income to parties in interest.

       5.       In addition, the trustee requests $0.00 for reimbursement of reasonable and
necessary expenses incurred in the administration of the estate. See attached Exhibit 2 for an
itemization of the trustee’s expenses.

       6.      In the event additional interest income accrues on estate funds after the filing of the
TFR and before distribution of funds by the trustee, the trustee requests approval of additional
compensation based on the disbursement of this additional interest income to parties in interest
without further Order of the Court.

       WHEREFORE, PREMISES CONSIDERED, Kent Ries, the chapter 7 trustee, requests
approval of $25,005.24 in compensation and $0.00 in reimbursement of expenses.

Dated: 11/01/2023



                                               By:    /s/ Kent Ries
                                                      Kent Ries
                                                      Chapter 7 Trustee
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Printed:    10/19/2023 1.40 PM               Trustee's Compensation
Debtor: PATEL, AVANINDRAKUMAR SOMBHAI                                            Case: 21-20266

   Computation of Compensation
     Total disbursements to other than the debtor are:                                                      435,104.71
     Pursuant to 11 U.S.C. 326, compensation is computed as follows:
              25% of First $5,000                                              5,000.00     =                 1,250.00
              10% of Next $45,000                                             45,000.00     =                 4,500.00
               5% of Next $950,000                                           385,104.71     =                19,255.24
               3% of Balance                                                       0.00     =                     0.00

                                                     Calculated Total Compensation:                         $25,005.24
                                                                     Plus Adjustment:                             0.00
                                                                Total Compensation:                         $25,005.24
                                                                 Less Previously Paid:                            0.00
                                                     Total Compensation Requested:                          $25,005.24

   Trustee Expenses
  No Expenses to report.

                                                                  Subtotal Expenses:                                $0.00
                                                                     Plus Adjustment:                                0.00
                                                                     Total Expenses:                                $0.00
                                                                 Less Previously Paid:                               0.00
                                                          Total Expenses Requested:                                 $0.00

    The undersigned Trustee certifies under penalty of perjury that the foregoing is true and correct to the best
of his/her knowledge and requests the United States Trustee to approve this report and accounts and requests
the Court to provide for notice and opportunity for a hearing under 11 U.S.C. 330(a), 502(b), and 503(b) and to
thereafter award final compensation or reimbursement of expenses and to make final allowance for the
purposes of distribution to claims, administrative expenses, and other payments stated in this report and
account.

   WHEREFORE, the Trustee requests that this application be approved by this Court and that the Trustee be granted
an allowance of $25005.24 as compensation and $0.00 for reimbursement of expenses. The Trustee further states that
no payments have been made or promised to him/her for services rendered or to be rendered in any capacity in this
case. No agreement or understanding exists between applicant and any other person for sharing compensation
received or to be received.




Dated:      10/19/2023                                          /s/ Kent Ries
                                                       Signed:___________________________________________

                                                       Kent Ries, TRUSTEE
                                                       PO Box 3100
                                                       Amarillo, TX 79116
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                                      Exhibit 2

Trustee’s Expenses:


Total Expenses                                                                    $0.00
